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) ECEIVE
Mark Lowe 1489162

Lunenburg Correctional Center | DEC 2 & 2020
690 Falls Road ___
Victoria, Via 23974 CLERK UTS DISTRICT COURT

December 22, 2019

Clerk of The United States District Court
Suite 3000

701 East Broad Street

Richmond, Va 23219

Subject: Lowe v. Dept of Corrections 3:20cv390
Attention Mr. Fernando Galindo,

Please find attached a 'Particularized Complaint for Civil Action.’ Please note my
objection. I have no meaningful access to a law library. citing Bounds v. Smith,

430 U.S. 817, 828 (1977)

Sincerely,

Mark Lowe

